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    Arr*r-n   m.     r€oLort
                                                                                      -^!w
                                                                                  *wd*,
(Name or rlre prarflur or    plamu[s,
                                                           crwlAcrroN                 *'il\%
                v.                                         *o'-
    Ntf 'oIUAL Irtuc.         rlnr\/Pc(i.Ft'                      l,.l-cvo:re1f
                                                                                  -
                                                                  Judge Jolrn J. Tharp, Jr
                                                                  tagiffie Judge Sirnit R Harpni
                                                                  RAilDOT
(Name or ute oerenoaflr or oefensanE,

                            COMPLAINT OF EMPLOYMENT DISCRIMINATION
1.   This is an action for employment discrimination.
2. The plaintitr     is     Aclq   eun         0€o Kohl                                    of the cormty of

     e-ooY                                     in the state of    \lJ-tNO\S
3. Thedefendantis           NqhWftL LodtS UnhtsRSlT?                                    ,whosestreetaddress

i   s   - _-2_Z-.--5--t4rch,g-en--RVg--
(city)-Crhjcg$,O (county)--e-ooK--(state) lLLlNor-s (zp)-laoloA3
@efendant's telephone       number) GfO            - Zbl - 3333
II The plaintiff sought emplolment or was employed by the defendant at (street address)
                                                        (city)---C,hlgqS-o-
    ---\4--5--urnisat--rlt?--
                         t)
   (county) l.OuK- (state) \L       @w coaq (tobO3

5.   The plaintiff lcheck   one boxf
     (")fl      was denied employment by the defendant.
     (b)fl      was hired and is still employed by the defendant.
     (.)E       was employed but is no longer employed by the defendant.
6- The defendant          discriminated against      the plaintiff on or about or besinning on or    about,
     (month)---lL-,             (aav)-$tr--, (ye"r)-219-.
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7.1   (Chooseparagraoh 7.1 or 7.2. do NOT complde both.\

               (a) The defendant is not a federal governmental agsrcy,         and the   plaintiff   lcheck one boxl

                   En^ *t Xn , filed a charge or charges against the defendant asserting the acts.of
                   discrimination indicated in &is complaint with any of the following govemment agencies:

       (i) El *" United States Equal Employ4nent Opportunity Commission, on or about
         ' (mo'nth)_t{erch_ @al)__Zz_$eerr)_3ttZO.
       (ir) fl O" ilinois Department of Human Rights, on or about
            (month)              (dav)-Oear)
  O) Ifcharges   were filed with an agency indicated above, a copy ofthe charge is ttached       N VeS.[ NO,
but pleinfifrwtll ftle a copy of the charge within 14 days.
It is the policy of both &e Equal Employment Opportunity Commission and the Illinois Departuent of Hurnan
Rights to cross-file with the other agency all charges received. The ptaintifrhas no reason to believe that this
policy was not followed in this case.

7.2     The defendant is a federal governm€ntal agency, and
       (a)theplaintiffpreviouslyfiledaCorylaintofEmploynentDiscriminationwiththe                defendantasserting
       the acts of discrimination indicated in this court eomplainl

                   n        Yes (month)                         (dav)_          (year)

                   n        No, did not file Complaint of Employment Discrimination
       2.      The plaintiffreceived a Final Agency Decision on (month)
               (day)            (year)
       c.      Attached is a copy of the
               a   Complaint of Employment Discrimination,
                   f]-           D *o, but a copy wilt be filed within 14 days.
                         "Fs
       (ir)    Final Agency Decision

                   n vrs         fl     No, but a copy will be filed within   14 days.


8.     (Complete paragraph     I only dd"f*d*rtis     not afederal governmental agency)
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         (")fl    the United Starcs Eqrnl Employment Opportunity Commission has not issred          a Notice of Right

                  to Sue.

         O)E      the United States Equal Employment Opportrmity Commission has issued aNotice of Right to

                  ,Sue,   which was received by the plaintiff on         (month);!lX[-- @qr)-'2tb--
                  Oear)-?Jd-         a copy of   which Noticeis attached to this complaint.

9.       Thedefendantdiscriminatedagainsttheplaintiffbecauseoftheplaintiffs          lcheckonlythosethatappfifi:
         (")fl    Age (Age Discrimination Emploprent Ac$.
         (b) E    Color (Title VII of the Civil Rights Act of I 954 and 42 U.S.C.   $I   98   l).
         (")[     Disability (Americans witr Disabilities Act orRehabilitation Act)
         (Ofl     National Origin (Title YII of the Civil Rights Act of 1964 and 42 U.S.C. $1981).
          (")EI   Race (Title   VII of the Civil Rights Act of 1964 and 42 U.S.C. $ l98l).
         (Qfl     ReHgion    (Title VII of the Civil Rights Act of 1964)

         fS)Q     Sex (Title   VII of the Civil Rights Act of    1964)
10.      Hthe defendant is a state, county, municipal (city, town or village) or other local governmental age,ncy,
         plaintifffurther alleges discrimination on the basis ofrace, color, or national origin (42 U.S.C. $ 1983).
I   l.   Jurisdiction over the statutory violation alleged is conferred as follows: for Tifle VII claims by 28
         U.S.C.$1331,28 U.S.C.$13a3(aX3), and42 U.S.C.$2fine-5(D(3); for42 U.S.C.$1981 and $1983 by
         42 U.S.C.$1988; for the A.D.E.A.by 42 U.S.C.$12117; for the Rehabilitation Act, 29 U.S.C. $ 791.

12.       The defendant lcheck on$t those that apply)

         (")fJ failed to hire the plaintiff.
         O)fJ terminated the plaintiffs employmenl
         (")E     failed to prcmote the plaintiff.
          (OD     failed to reasonably accommodate the plaintiffs religion.
         (")E failed to reasonably accommodate the plaintiffs disabilities.
         (flEf failed to stop harassme,n!
         G)Qot fiated against the plaintiffbecause the plaintiffdid something to assert rights protected by
          the law-s identified inparagraphs 9 and    l0 above;
         (h)fl other (speciff):
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13.      The facts supporting the plaintiffs claim of discrimination are as follows:




14.      VGE DISCRIMINAflON ONLYI Defendant knowingly, inte'ntionally,                 and   willfirlly discriminated
         against the plaintiff.

15.      The plaintiffdemands that the case be tried by      ajury.   E VfS     KI*o
16.          TI{EREF'ORE, the plaintiffasks that the court grant the following relief to &e plaintifflcheck only
      those       that aWlyl

      (")fI        Direct the defendant to hire the plaintiff.
      &)fl         Direct the defendant to re-employ the plaintiff.
      (")fI        Direct the defendant to prcmote the plaintiff.
      (OD          Direct the defendant to reasonably aeommodate the plaintiffs religion.
      (")[         Direct the defendant to reasonably accommodate the plaintiffs disabilities.
      (0[]         Direct the defendant to (speci$):




      rrrE         If available, grant the plaintiff appropriate injunctive reliei lost wages, liquidated/double
                   damaqes, fiont pay, compensatory damages, punitive damages, prejudgment interest, post-
                   judgment interest, and costs, including reasonable attorney fees and expert wihess fees.
                   Grant such other relief as the Court may find appropriate.
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Plaintiffs sheet   address    "77;61,"   3, C*l\4 frve, Cn

city-e&icgflp               State IL           zE-(oolo41

Plaintiffs telephone   number UIU' be1' bA23



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Angela M.         Orokoh                          )
P   la   intiff                                   )

                                                  )

                                                  )

                                                  )

                                                  ) United States District Court
V.                                                ) Northern District of lllinois
                                                  )

                                                  )

                                                  )
National Louis University                         )
Defenda nt




                                             COMPLAINT


                                             l.       lntroduction

           1, Plaintiff Mrs. Angela Orokoh   brings forth this action pursuant to the Title Vll of the
              United States Civil Rights Act of 1964 ("Title Vll'),42 U,S.C. $ 2000e et seq to
              remedy acts of discriminatory harassment and retaliation perpetrated against her by
              Defendant National Louis University and associative affiliates. Plaintiff is seeking
              monetary damages against defendants for employment practices that violated Title
              Vll of the Civil Rights Act of 1964 ("Title Vll'), 42 U.S.C. $ 2000e et seq,
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2.    Plaintiff contends that she was subject to pervasive acts of harassment, much of
      which was saturated in discriminatory comments from coworkers that were
      orchestrated objectively and subjectively interfering with work objectives and creating
      an abusive as well as intimidating work environment. Mrs. Orokoh was subject to
      continuous derogatory comments, slurs, jokes and epithets that were targeted at her
      race, identity, gender, ethnicity and culture,




3, Angela Orokoh      is a female, African American and was employed with National Louis
      University as an Outreach and Enrollment specialist in the Department of Outreach
      and Enrollment.




4.    Angela Orokoh is a victim of extrajudicial government surveillance, organized group
      stalking, and systemic harassment which have no official or legitimate investigative
      purpose. A person who is victim of such surveillance program organized by
      government security personnel et al., is subject to intense long term psychological
      torture orchestrated in a manner to create the least amount of objective evidence as
      possible. As a result, in working for National Louis University, co-workers and other
      university affiliates became designated participants through which harassment
      techniques and group harassment methodologies would be deployed against Mrs.
      Orokoh. Such activities included but were not limited to: racially offensive and
      sexually obscene language, epithets and name-calling towards Mrs. Orokoh,
      sabotaging Mrs. Orokoh's work performance by withholding information in an attempt
      to prevent her from conducting job duties accurately, providing false grievances to
      higher ups in an attempt to have Mrs. Orokoh disciplined, false conspiratorial
      remarks against Mrs. Orokoh's perceived political association, and verbal attacks
      against Mrs. Orokoh's racial and sexual association.



5.    Mrs. Orokoh made several institutional complaints to her supervisor as well as
      Human Resources about the discriminatory harassment that was taking place
      throughout the university, When Mrs. Orokoh made several institution complaints,
      many of which went unanswered, she was subsequently terminated from her
      position December 19, 2019.
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                                     ll.    Jurisdiction
6,    This court has jurisdiction over the subject matter of this civil action pursuant to Title
      Vll of the Civil Rights Act of 1 964 ("Title Vll'), 42 U,S,C, $ 2000e et seq.




7,    Venue is proper because Defendant is a municipal corporation with its principal
      office in this judicial district.

                                lll. Statement of Facts
8.    Plaintiff Mrs. Angela M, Orokoh, Black female, was an employee of National Louis
      University as an Outreach and Enrollment specialist, Mrs. Orokoh was officially
      offered the position on November 5,2019. Mrs. Orokoh officially began the position
      onNovember11,2019.

9.    ln the capacity of an Outreach and Enrollment specialist, Orokoh's job duties
      entailed representing, promoting and recruiting for National Louis's University
      undergraduate program, ln doing so, Orokoh represented National Louis University
      when speaking to various Chicago Public Schools on the campus of National Louis
      University and at various school sites throughout Chicago Public Schools.



10. Employees within complainant's department included, Serah Fatani, the Director           of
      Enrollment and Strategic Growth, Alison Perez, Associate Director of Undergraduate
      Partnerships, Michelle Peterson Enrollment Operations Manager, Shae'Von Huerta
      Outreach and Enrollment Specialist, Rebecca Laird Outreach and Enrollment
      Specialist, Jeanette Perez, Outreach and Enrollment Specialist, Student
      Ambassadors: Samuel Cisneros, Omar Hernandez, Eric Maldonado, Omar De La
      Torre, Diana Moreno, Devine Drakes, Meghan Harris, and Ruth
      Anderson. All aforementioned employees were complicit in harassment activities in
      some degree or another orchestrated against Mrs, Orokoh.

11.   0n December 19,2019, Mrs, Orokoh was informed that her employment with
      defendants was being terminated without any explanation, When Mrs. Orokoh asked
      for an explanation of her termination, she was told that lllinois was an "at-will state"
      and the University did not need to provide an explanation, Prior to
      Mrs. Orokoh's termination from employment, she had made several institutional
      complaints, on November 16, 2019,0n November 22,2019,0n November 26,
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      2019,0n December 4, 2019,0n December         11  ,2019, and on December 17,2019,
      of pervasive harassment from employees which was saturated in racial and
      sexual epithets, All complaints, with the exception of one went unanswered,

12, Mrs. Orokoh is a member of the class of females and African American, protected by
    the civil rights laws referenced herein,

13.   0n Saturday November 16, 2019, Mrs. Orokoh was assigned to work an event on
      campus called "Eagle Day." Mrs. Orokoh was assigned by Serah Fatani and Allison
      Perez to work in the "Admit Room" where Orokoh's job was to review
      student applicant's transcripts. This included inputting information into the
      university's salesforce system.

14. Assigned      to the same room were employees Michele Peterson and Devine Drakes.
      Mrs. Orokoh, who had been on the job for four days up until this point, and had no
      prior training in salesforce, asked both Peterson and Drakes for assistance on using
      salesforce. Drakes and Peterson deliberately ignored Mrs. Orokoh's request for
      help, When Mrs. Orokoh asked Drakes directly, Drakes informed Mrs. Orokoh that
      she did not know how to work salesforce and therefore could not help her, Peterson
      never responded to Orokoh at all.

15. Supervisor Fatani arrived to the "Admit Room" to ask Mrs, Orokoh how her progress
      was going on the assignment. Mrs. Orokoh informed Fatani that she was having
      trouble inputting information into salesforce, Fatani stated that Drakes could assist
      Mrs, Orokoh with salesforce, Mrs. Orokoh informed Fatani that Drakes had told her
      that she did not know how to use salesforce and therefore could not assist Mrs.
      Orokoh. Fatani stated that Drakes did know how to utilize salesforce, and in
      that instance, Drakes retracted her statement in front of Fatani and stated that she
      did know how to work salesforce.

16, Fatani then instructed Mrs. Orokoh to go and assist with the college majors room.


17. When      assisting in the college majors room, Mrs. 0rokoh was instructed
      by Alison Perez to go and assist Samuel Cisneros and Omar De La Torre
      to retrieve materials in the Outreach and Enrollment office. Mrs, Orokoh had just
      recently posted an article to her Facebook page about looted artwork stolen from
      Africa being returned from France.

18. Shortly after, Samuel Cisneros approached Mrs. Orokoh striking up a conversation,
      Cisneros states, "Hey Angela, I am going to rob an art museum" Mrs. Orokoh


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      responds and asked Cisneros, "Why would you do something like that?" Cisneros
      replies, "that is what you do, rob art museums" Orokoh ignores Cisneros comments
      and proceed to obtain the materials, Cisneros again engages Mrs. Orokoh in
      conversation by stating, "Hey Angela, what is your name?" Mrs, Orokoh responds
      and states, "You just called my name," Cisneros then asks, "Can I call you Angie?"
      Mrs. Orokoh tells Cisneros that "typically only close friends and family call
      me Angie, but you could do so if you would like too," Cisneros then proceeds to
      state, "that name is so unprofessional, and you are ghetto."

19. Mrs, Orokoh immediately tells Cisneros that what he stated was inappropriate and
      that he should not make such comments in the workplace.

20. Mrs. Orokoh immediately reported the conduct from Cisneros as well as other co-
    workers blatantly ignoring her request for help to her direct supervisor Director of
    Enrollment and Strategic Growth Serah Fatani. Fatani did not address the
    complaint and no subsequent actions were taken on behalf of the department as it
      relates to the inappropriate conduct from co-workers that occurred on November 16,
      201 9,


21, The discriminatory harassment towards Mrs. Orokoh continued feverishly around the
      office. Mrs. Orokoh shared an office space with co-worker Rebecca Larid, where co-
      workers would come into the office and repeatedly make offensive comments
      towards Mrs. Orokoh in conversation with Rebecca Laird,

22.Onseveral occasions, Mrs.Orokoh was called whores, ridiculed for being a Black
   Human Rights activist, told she has bad hair, subjected to sexually suggested
   statements and accusations, and on several occasions when Mrs, Orokoh went to
   visit the lactation room, Omar Hernandez and Omar De La Torre would state:
   "Angela is going to pump, pump, pump it up."


23,   0n November 20,2019, Mrs, Orokoh began to research how to report workplace
      harassment. Mrs. Orokoh was advised to tell the harassers to stop engaging in the
      harassment. Mrs. Orokoh told Laird and Perez who were in the offiqe participating in
      harassment to stop harassing her. Both co-workers simply responded "ok"

24.On November 22,2019, Mrs. Orokoh reported the pervasive harassment to Human
   Resources. Tiffany Krieder, Associate Director of Employee Relations and
   Development of Human Resources scheduled a meeting with Mrs, Orokoh to
   discuss what was occurring around the university. This meeting was scheduled to
   happen on November 26, 2019,
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25, 0n Tuesday November 26,2019, Mrs. Orokoh met with Krieder to discuss the nature
    of the harassment. Mrs, Orokoh provided Krieder with a printed list of discriminatory
      harassment statements that were made towards Mrs. Orokoh in addition to
      informing Krieder of who, what, when and where it happened,

26. During this meeting Mrs. Orokoh also disclosed to Krieder that she was what is
    known within the community as a "targeted individual" where she is subject to
      extrajudicial harassment and psychological torture from what she believes to be
      some form of U. S, security personnel. Mrs. Orokoh informed Kreider that the nature
      of the harassment conducted by employees was conducted in a manner that fits the
      narrative of targeted individuals. Mrs. Orokoh informed Kreider that the harassment
      techniques practiced by employees had been scripted, rehearsed, both subtle and
      outright. And in doing so, the harassment was often clothed in outright racist and
      sexist verbiage directed at Mrs, Orokoh along with
      frequent inappropriate conversations and epithets within Mrs. Orokoh's vicinity.

27, Mrs. Orokoh shared documents with Kreider that could help her understand the
    nature of group targeting and group harassment. This included affidavits
    from whistleblowers in the National Security Agency and a former employee in the
    Federal Bureau of lnvestigation. Kreider was also provided with a letter endorsed by
      several attorneys and medical professionals who warned about discrediting,
      ignoring, and misdiagnosing grievances from citizens who claim to be "targeted
      individuals." Kreider was also provided her affidavits from other citizens who were
      making similar claims of targeted harassment in the workplace as a form of
      extrajudicial treatment and torture.

28. Kreider informed Mrs, Orokoh that an investigation would take place.



29. After the complaintto Human Resources, the discriminatory harassment continued,
      becoming more pervasive and escalating to threats of physical harm.

30,   0n December 4,2019, Shae'Von Huerta stated to Mrs. Orokoh unprovoked, "Angela
      not everybody's out to get you, you will be ok big hug. Who-oo Angela's going to
      die, your dying. Wait I thought you said she was dying"

31.   0n December 4,2019, Omar Hernandez states to Mrs, Orokoh, "Angela, you are Al
      Sharpton. Angela has bad hair, she has bad hearing too."
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32.   0n December 4,2019, Michele Peterson in conversation with Shae'Von Huerta
      states, "Yes Angela's facebook marriage doesn't count. Do you pay her bills, did you
      sleep with Angela too?" (both laughs loudly)

33. December     1   1, 2019 Mrs. Orokoh
      reported continued harassment to supervisor Serah Fatani. She
      emailed Fatani about her grievances; however, Fatani did not respond,

34.   0n December 12,2019, Fatani instructed Mrs. Orokoh to return to the office to meet
      to prepare for an on-campus event that was scheduled on December 13,
      2019. Fatani however ambushed Mrs. Orokoh with an impromptu meeting with the
      Dean of Undergraduate College Aarti Dhupelia, Serah Fatani and Tiffany
      Kreiger. Mrs, Orokoh was spoken to about alleged and false reports of conduct that
      had been stated about Mrs. Orokoh, Mrs, Orokoh denied the false
      accusations made against her. Mrs, Orokoh used this meeting to again raise
      concerns about the continued existence of the hostile work environment, Mrs,
      Orokoh was told that this meeting was about her and she was made to sign an
      expectations document, Mrs. Orokoh signed the document and made clear that she
      disagreed with line 4 of the document which stated to an extent, that Mrs, Orokoh will
      not make loud outburst, had never occurred,

35, Following the meeting, Fatani never met with Mrs. Orokoh to prepare for the event
    that was occuring the next day as previously prompted Mrs, Orokoh's return to the
    office. Fatani instead told Mrs, Orokoh to look at the Google doc sent out to all the
    staff to see where Mrs. Orokoh would be placed, When looking at the Google doc,
    Mrs. Orokoh noticed that she was the only staff member that was not placed on an
      assignment,

36. 0n this same day, When asking other employees, (Meghan Harris and Ruth
    Anderson) if there was any assistance needed, the employees outright ignored Mrs,
    Orokoh, When Mrs, Orokoh walked away and asked employee Rebecca Laird was
      there anything she could help assist her with for the event occurring December
      13, 2019, Mrs. Rebecca replied, "Angela you're a mocha Frappuccino with a
      whip," 0n this same day, when walking pass Devine Drakes, Drakes referred to Mrs.
      Orokoh as a THOT (a slang word for That Hoe Over There)

37. On December 17 ,2019, Mrs, Orokoh met with HR personnel Tiffany Kreider and
    Holly Buttaglia. Ihis meeting was scheduled and honored as a follow up to discuss
    the original complaints made to Kreider which Mrs, Orokoh reported on November
    26,2019. Kreider informed Mrs. Orokoh that an investigation had took place and that
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   she could not disclose what happened as a result. Kreider stated that she could only
   tell Orokoh that an investigation had taken place; however no updates or details
   were given. Mrs. Orokoh informed Kreider that the harassment had continued
   despite the investigations. A lot of the harassment continued to be in the form of
   discriminatory harassment that were both racialzed and sexual. Mrs. Orokoh
   informed Kreider that the harassment had also escalated to epithets of threats of
   violence and physical harm. Krieger and Battaglia stated that Mrs, Orokoh must
   provide the information about the threats of violence immediately, in addition explain
   the incidents of harassment.

38. Mrs. Orokoh informed HR of the raw notes she had kept to document and would
    need to refer to the notes to provide a detailed synopsis.

39. Kreider and Buttaglia told Mrs. Orokoh they could not wait for that and I had to tell
    them at that moment. I told them due to the nature and conveyance of the
    harassment, happening multiple times and through multiple instances, , it would take
   some time to write out.

40, Mrs. Orokoh provided a synopsis on the nature of the harassment and how it
    was occuring around the university on December 18,2019 which included Mrs.
   Orokoh's raw journal of notes. Mrs, Orokoh told Kreider that the information was not
   conclusive and that she would need to provide details to what was being sent, in
   addition to how it had materialized and played out towards me in the office and
   throughout the university. Mrs. Orokoh requested a meeting for a follow up.

41, Mrs. Orokoh was never provided the opportunity to go over in detail the nature of the
   continued harassment.

42. Mrs, Orokoh was sent a meeting request for December 19, 2019 from Tiffany
    Kreider. During this meeting, Mrs. Orokoh was joined by Kreider
    and Duphelia, Duphelia informed Orokoh that her position was being terminated with
    National Louis University. After Duphuleia stated this, she immediately left the room
   without providing an explanation. When Mrs, Orokoh asked for an explanation,
   Kreider, who remained in the room, told Mrs. Orokoh that lllinois was an alwill state
   and that they were not required to provide an explanation.

43. Rather than respond to Mrs. Orokoh's complaints of discriminatory harassment, Mrs.
    Orokoh was instead terminated from National Louis University.




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                          lV.    Notice of Right to Sue

44, 0n or about March 22,2020, Mrs, Orokoh filed a charge of race and sex
    discrimination and retaliation with the Equal Employment Opportunity Commissiion
   (EEOC) Charge No. 440-2020-03741. All allegations contained in these charges are
   hereby incorporated in this Complaint by reference, Plaintiff received a Notice of
   Right to Sue from the EEOC on April, 26 2021. This lawsuit has been commenced
   within 90 days of receipt of Notice of Right to Sue,




                                  V. Count One
       (Racial and Sexual Discrimination in Violation of Title Vll of the Civil Rights
       Act of 1964, 42 USC 2000e. et seq.)

45. The foregoing paragraphs are realleged and incorporated by reference herein.
46. The Defendant's conduct as alleged at length herein constitutes discrimination based
   on race in violation of Title Vll. The stated reasons and lack thereof for the
   Defendant's conduct were not the true reascns, but instead were pretext to hide the
   Defendant's discriminatory animus,



                                  Vl. Count Two
                        (Reprisalfor Engaging in Protected Activity)



47, The foregoing paragraphs are realleged'and incorporated by reference herein.
48, The Defendant's conduct as alleged above constitutes retaliation against the Plaintiff
    because she engaged in activities protected by Title Vll, The Defendants conduct
   and lack thereof were the pretext to hide Defendants retaliatory animus,




                                 Vll.
                                Count Three
                 (Hostile and Abusive Working Environment)


49, The foregoing paragraphs are realleged and incorporated by reference herein,
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50. The Defendant's conduct as alleged above constitutes hostile and abusive working
   environment in violation of Title Vll.



                                Vlll. Prayer for Relief
51, Mrs. Orokoh have been made to suffer from loss of employment, income, benefits,
    and job security as the direct and proximate result of the violation of her civil rights,
    Mrs. Orokoh have been made to suffer mental anguish, psychological damage, pain,
   suffering, embarrassment, and humiliation as a direct and proximate result of the
   violation of her civil rights as alleged herein. Further, plaintiff is reasonably likely to
   suffer these damages in the future. Plaintiff seeks all applicable rights and remedies
   including, but not limited to, recovery from actual damages, compensatory damages,
   punitive damages, interest, costs, fees and disbursements.


52, The plaintiff requests the court awards her $400,000 in damages suffered because
   of discrimination, retaliation and subsequent damages herein,



                                  IX.       Jury Demand

53. The plaintiff does not request trial by jury,




                                                                        Dated: July 23, 2019




                                                                  Angela M. Orokoh, Pro Se

                                                                         7356 S Coles Ave G

                                                                           Chicago, lL 60649

                                                                           Tel. 41 4-627-6223



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'   EEOC Fdm'161   (lll2@o)                  U.S. EQUAL Euplovment OppoRruNtrY Commlsslon

                                                     DrsussaL             AND     Nonce oF            RTcHTS
    ro:   Angela  Orokoh                                                                     From: Chicago District Office
          7356 S. Goles Ave, Unit G                                                                230 S. Dearbom
          Chicago, lL 60649                                                                        Suite 1866
                                                                                                   Ghicago,lL 60604


                                On behalf of person(s) aggrievedwlpse identity is
                                coNFtDENTtAL (29 CFR $1601.7h))
    EEOC Chaqe No.                                  EEOC Repr€s€ntawe                                                    Telephone No.

                                                   Fatima Sandova!,
     410,-202043711                                lnvestigator                                                          (312) 872-9682

    THE EEOC !S CLOSING ITS FILE ON THIS CHARGE FORTHE FOLLOWING REASON:
        E            The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


        E            Your allegations did not involve a disability as defined by the Americans With Disabilities Ac1.


        tl           The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.


        tf           Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                     discrimination to file your cfiarge

        E            The EEOC issues the following determination: The EEOC will not proceed further wtth its investigation, and makes no
                     determination about whether further investigation uould establish violations of the statute. This does not mean the claims
                     have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                     makes no finding as to the merits of any other issues that might be construed as having been raised by this cfiarge.

        E            The EEOC has adopted the findings of the state or local fair employment prac'tices agency that investigated this charge.


        tl           Olher (biefly state)

                                                             . NOTICE OF SUIT RIGHTS .
                                                      (See   lre   affiitional infomatin afrar/led to this form.)

    Title Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimlnation Act, or the Age
    Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
    You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
    lawsuit must be filed E[!ts!N-99-p1$, of your receipt of this notice; or your right to sue based on this charge will be
    lost. (The time limit for filing suit based on a claim under state law may be different.)

    Equal Pay Act (EPA): EPA suits must be ftled in federal or stiate court within 2 years (3 yearc br willful violations) of the
    alleged EPA underpayment This means that backpay due for any violations that occuned morc than 2 veam (3 vearcl
    before you file suit may not be collectible.

                                                                           On behalf of the Commission

                                               JuJ,ia,nnsBoytmandnp                                                     4126t2021
    Enclosures(s)                                                                                                              (Date lsswd)
                                                                         Julianne Bowman,
                                                                          Dbtrict Dircctor
    CC:       NATIONAL LOUIS UNIVERSITY
              c/o Robert T. Zielinski
              iiiller, Canfield, Paddock & Stone
              225W. Washington Street, Suite 2600
              Ghicago,lL 60606
              Case: 1:21-cv-03916 Document #: 1 Filed: 07/23/21 Page 18 of 19 PageID #:18
Endosure with EEOC
Form 161 (1112O20t
                                               lnronmmon Relareo ro Ftune Sur
                                             Uroen rxe Llws Enronceo BY rHE EEOC
                                (This information rclates to filing suit in Fedenl or State court under Federul !aw.
                     tf   you atso ptan to sue ctaiming violations of Sfafe law, please be awarc that lime limits and other
                               provisions of Sfafe law may be shorter or more limited than those described below.)


                                          Title Vll of the Civil Rights Act, the Americans with Disabilities Act (ADA),
Pnvlre Sutr Rloxrs                        the Genetic lnformaton Nondiscrimination Act (GINA)' or the Age
                                          Discrimination in Employment Act (ADEA):

ln order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge witlin
90 davs of the date you recelvethis Notice. Therefore, you should keep a record of this date. Once this 90-
EZ[perioO is over, your right to sue based on the charge referred to in this Notice will be lost. lf you intend to
consult an attorney, you should do so promptly. Give your attomey a copy of this Notice, and its envelope or
record of receipt, ini tett him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed withln 90 days of the date this Notice was
issuedto you (as lnOicateO where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Gourt or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint'that contains a short
statement of tnl facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, [o the extent permitted by court decisions, matters like or related to the matters alleged in
the Lharge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases cain Oe broughi where relevant employment records are kept, where the employment would hav-e been, or
where the respondent has its main office. lf you have simple questions, you usually can get answers from the
office of the cl'erk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

Pnvlre       Sum     Rrcxrs               Equal Pay Act (EPA):

EpA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment back
pay due for violations that occurred more than 2 vears (3 v.ears) before_yg1-fle gy.tt                       not be collectible. For
                                                                                                           !!y
eximple, if you were underpaid under the EPA for work            performed    ftom7l1l08to       1211108,   you  should file suit
                                                                                         2008.                      for filing an EPA
                     -
OetorililtiO not 12t1t10 in order to  -        recover
                                           period
                                                         unpaid  wages
                                                                 Vll, the
                                                                          due
                                                                          ADA,
                                                                                for July
                                                                                  GINA   or the
                                                                                                  TJris
                                                                                                 ADEA
                                                                                                        time  limit
                                                                                                          referred  to above.
sgit is separate from the 90{ay     filing          under  Title
Therefore, if you  also   plan to sue  under  Title Vll, the ADA,   GINA   or  the  ADEA,    in addition   to suing  on the EPA
claim,  suit must be  filed within 90  days  of this Notice  and  within  the  2-  or 3-year   EPA  back    pay  recovery    period.

ArroRNEy        Repneserrmor                     Ti0e Vll,   $e ADA or GINA:
lf you cannot afford or have been unable to obtain a lavyyer to repreent you, the U.S. Distict Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
mide to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
effrcrts to retain an aftomey). Requests should be made well before the end of the 90{ay period mentioned above,
because such requests do not relieve you of the requircment to bring suit within 90 days.

ATTORNEY        RETCNM-IIrD EEOC                ASSISTANCE               AII StAfrTteS:

you may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. tf you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (bi shown on your Notice). While EEOC destoys charge files after a certain time, all charge files
lre kept 6r at least 6 months after our last action on the case. Therefore, ifyou file-suit and want to review the charge
file, please make your rcview request              !fth!El@@of thb Notlce. (Bebre filing suit, any request should be
made within the next 90 days.)

                     lr   vOU FILE SUIT, ptEASE SEVD A COPY OF YOUR COURT COmPLAiNT TO TH,S OFF,CE.
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Endoeups(s)

cG    Robert T. Zlellnrkl
      tlller, Ganfield, Paddock & Stone
      A25 W. Warhlngton Street
      Sulte 26fl1
      Chlcago,lL G0606
